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 5
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 6   DONALD HARNED

 7

 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            No.   2:14-CR-00043-GEB

12                Plaintiff,              APPLICATION FOR TRANSPORTATION
                                          ORDER; [PROPSED] ORDER FOR
13        v.                              TRANSPORTATION

14   LUDWIG et. al.,                      18 U.S.C. § 4285

15                Defendants.            Date: September 29, 2017
                                         Time: 9:00 a.m.
16                                       Judge: Hon. Garland E. Burrell

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          Procedural History
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          In an Indictment filed February 20, 2014, defendant, Donald
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     Loyde Harned, was charged with conspiracy to defraud the United
20   States With False, Fictitious or Fraudulent Claims in violation
21   of 18 U.S.C. § 286 (Count 1) and False Claims Against the United
22   States in violation of 18 U.S.C. 287 (Counts 2-7).          Mr. Harned
23   was arrested and initially appeared in the Western District of
24   Oklahoma on February 26, 2014 pursuant to Federal Rule of

25   Criminal Procedure 5(c)(3). On February 27, 2014, Mr. Harned was

26   ordered released on a $5,000.00 unsecured bond and conditions of

27   release, and to report for further proceedings in the Eastern

28   District of California, Sacramento for further proceedings.
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 1         Mr. Harned made an initial appearance in Sacramento on

 2   March 17, 2014, where he entered a not guilty plea to the pending

 3   charges and the Court ordered his continued release on the

 4   conditions of release imposed by the Western District of

 5   Oklahoma.

 6        Mr. Harned has a waiver of personal appearance on file and

 7   has continued to reside in Oklahoma throughout the duration of

 8   his pre-trial release.     A change of plea hearing was held March

 9   24, 2017, where Mr. Harned entered a guilty plea to Count 1.

10        Judgment and sentencing is scheduled for Friday, September

11   29, 2017 before this Court.

12        Application

13        Application is hereby made for an Order for Transportation

14   and subsistence allowance for defendant Donald Loyde Harned to

15   travel to California to attend judgment and sentencing as allowed

16   under 18 U.S.C. § 4285.     At sentencing, counsel will request that

17   the Court allow Mr. Harned to self-surrender to the facility

18   designated by the Bureau of Prisons for service of any custodial

19   term imposed at sentencing at a later date as set by the Court.

20   As such, counsel requests the Order of Transportation cover Mr.
21   Harned’s return to Oklahoma at the conclusion of the proceedings.
22   Mr. Harned is aware of his obligation to arrange transportation

23   to the facility designated by the Bureau of Prisons.

24        Mr. Harned has advised counsel that he is without sufficient

25   funds to travel to and from Sacramento, California for judgment

26   and sentencing. Therefore, counsel is requesting that Mr. Harned
27   be allowed to fly in to Sacramento on September 28, 2017 to meet

28   with counsel and discuss his judgment and sentencing before his
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 1   scheduled appearance the following morning and to return to

 2   Oklahoma September 29, 2017 following the hearing or as soon

 3   thereafter as possible.

 4   Dated: September 20, 2017               /s/ William E. Bonham
                                             WILLIAM E. BONHAM
 5                                           Counsel for defendant
 6                                           Donald Loyde Harned

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 1                                     ORDER

 2        To: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:

 3        This is to authorize and direct you to furnish defendant

 4   Donald Loyde Harned with transportation and subsistence from the

 5   Del City, Oklahoma area to Sacramento, California on September

 6   28, 2017 and from Sacramento, California to Oklahoma on September

 7   29, 2017 or as soon thereafter as possible.

 8       Mr. Harned is indigent and financially unable to pay his

 9   travel expenses to and from Sacramento, California. This request

10   is authorized pursuant to 18 U.S.C. § 4285.

11        IT IS SO ORDERED.

12
     Dated:   September 25, 2017
13                                       _____________________________________
14                                       CAROLYN K. DELANEY
                                         UNITED STATES MAGISTRATE JUDGE
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